                  Case 1:01-cv-12257-PBS Document 7103-1 Filed 05/11/10 Page 1 of 4

                                               Attachment A
        List of Witnesses Whom the United States Expects to Call or May Call Live (Medicare‐only trial)
                           Address/Phone # (if not previously
            Name                                                 Affiliation   Intent to Call   Objection
                                      provided)
                           Steck Consulting, LLC, 1730 Rhode
                           Island Ave, N.W., Suite 507,
                           Washington, DC 20036. Contact
Dew, Ian                                                         Consultant       Expect
                           through counsel for the United
                           States: Rebecca Ford / (202) 514-
                           1511.
                           University of Maryland, Department
                           of Economics, 3105 Tydings Hall,
Duggan, Mark (Dey/         College Park, MD 20742. Contact
                                                                   Expert         Expect
Roxane)                    through counsel for the United
                           States: Rebecca Ford / (202) 514-
                           1511.
                           215 Alchemy Way, Napa, CA 94558
Galles, Todd Christopher                                            Dey           Expect
                           / (707) 255-2565 or (707) 226-2565.
                           Contact through: Bruce A. Roby,
                           Esq., Waggener, Arterburn &
                           Standiferd
Guerrant, Timothy          1400 SW Topeka Blvd.                  Consultant       Expect
                           Topeka, KS 66612-1819 /
                           (785) 235-2361
                           barlaw@sbcglobal.net
                           Carolyn Helton, CIGNA, 2 Vantage
                           Way, Nashville, TN 37228, (615)
                           782-4500. To be contacted through
                           carrier counsel: Michael Wade,
Helton, Carolyn            Office of Counsel, CIGNA               DMERC           Expect
                           Government Services, Two Vantage
                           Way, Nashville, TN 37228 / (860)
                           226-2457.
                           Michael.Wade@CIGNA.com
                           75 Kelly Ave.
                           Wilkes-Barre, PA 18705
King, Colleen              570-825-4716. Contact through          DMERC           Expect
                           counsel for the United States,
                           Rebecca Ford / (202) 514-1511.
                           Department of Clinical and
                           Administrative Pharmacy, University
                           of Georgia College of Pharmacy,
Perri, Matthew                                                     Expert         Expect
                           Athens, GA 30602. Contact through
                           counsel for the United States:
                           Rebecca Ford / (202) 514-1511.
                           60 State Street, Suite 3500, 35th
                           Floor, Boston, MA 02109. Contact
Platt, Simon               through counsel for the United          Expert         Expect
                           States: Rebecca Ford / (202) 514-
                           1511.



5/11/2010                                                   1
                  Case 1:01-cv-12257-PBS Document 7103-1 Filed 05/11/10 Page 2 of 4

                                               Attachment A
        List of Witnesses Whom the United States Expects to Call or May Call Live (Medicare‐only trial)
                          Helen Burnham Selenati
                          106 Mendocino Way
Selenati, Helen                                                      Dey        Expect
                          Redwood City, CA 94065 /
                          (650) 596-0807.
                          Palmetto GBA, Carolina Research
                          Park, 17 Technology Circle,
                          Columbia, SC 29203 / (803) 763-
                          1098.
Stone, Robin Kruesh       robin.stone@palmettogba.com.             DMERC        Expect
                          Contact through counsel Rodney A.
                          Johnson, Palmetto GBA, (803) 763-
                          7368.
                          7500 Security Boulevard
                          Baltimore, MD 21244 / 410-786-
Thompson, Don             3000. Contact through counsel for          HHS        Expect
                          the United States: Rebecca Ford /
                          (202) 514-1511.
                          130 County Road, P.O. Box 1094,
Tupa, Edward J                                                    Boehringer    Expect
                          Granby, CO 80446 / (970) 887-3011.
                          28499 Ono Blvd.
Uhl, Ross                 Orange Beach, AL 36561                     Dey        Expect
                          251-981-1967
                          12065 Silver Shore Court
                          Indianapolis, IN 46236
Via, Thomas               317-826-8409. Contact through           Boehringer    Expect
                          counsel for Roxane: Helen Witt,
                          (312) 862-2000
                          Chief, Civil Medicaid Fraud Division,
                          PO Box 12548
Winter, Raymond                                                   Third party   Expect
                          Austin, Texas 78711-2548 /
                          (512) 936-1709.
                          Urban Institute, 2100 M Street,
                          N.W., Washington, DC 20037.
Berenson, Robert          Contact through counsel for the            HHS        May
                          United States: Rebecca Ford (202)
                          514-1511.
                          8024 Ridgely Oak Road, Baltimore,
                          MD 21234 / (410) 668-2048.
Booth, Charles            Contact through counsel for the            HHS        May
                          United States, Rebecca Ford /
                          (202) 514-1511.
                          11955 E LA Posada Circle,
Bronstein, Debra Jane     Scottsdale, AZ / (480) 502-8135.           Dey        May
                          2032 North Stafford Street,
                          Arlington, VA 22207. Contact
Buto, Kathleen            through counsel for the United             HHS        May
                          States: Rebecca Ford / (202) 514-
                          1511.




5/11/2010                                                  2
                  Case 1:01-cv-12257-PBS Document 7103-1 Filed 05/11/10 Page 3 of 4

                                               Attachment A
        List of Witnesses Whom the United States Expects to Call or May Call Live (Medicare‐only trial)
                          615 1/2 Duval Street, Unit 4, Key
                          West, FL 33040. Contact through
Cobo, Luis
                          counsel: James J. Breen, (770) 740-
                                                                  Relator       May
                          0009.
                          Contact through counsel John Kern,
                          Esq., Manatt Phelps & Phillips, 111
Davis, Marilyn K.         Sutters St., Suite 700, San         First Data Bank   May
                          Francisco CA 94104, (415) 291-
                          7407, jkern@manatt.com

                          4229 Leland Street, Chevy Chase,
                          MD 20815. Contact through counsel
DeParle, Nancy Ann
                          for the United States: Rebecca Ford
                                                                   HHS          May
                          (202) 514-1511.
                          Arnold and Porter, 555 Twelfth
                          Street, N.W., Washington, DC
Gustafson, Tom            20004. Contact through counsel for       HHS          May
                          the United States: Rebecca Ford /
                          (202) 514-1511.
                          615 1/2 Duval Street, Unit 4, Key
                          West, FL 33040. Contact through
Jones, T. Mark
                          counsel: James J. Breen / (770)
                                                                  Relator       May
                          740-0009.
                          Roxane Laboratories, 300 Northfield
                          Road, Bedford OH, 44146 / 614-276-
Kutner, Deborah B
                          4000. Contact through Roxane
                                                                Boehringer      May
                          counsel Helen Witt, (312) 862-2000.
                          615 1/2 Duval Street, Unit 4, Key
                          West, FL 33040. Contact through
Lockwood, John
                          counsel: James J. Breen / (770)
                                                                  Relator       May
                          740-0009.
                          Yale School of Management, 135
                          Prospect Street, P. O. Box 208200,
                          New Haven, CT 06520-8200.
Marmor, Theodore R
                          Contact through counsel for the
                                                                  Expert        May
                          United States: Rebecca Ford / (202)
                          514-1511.
                          Ropes & Gray, One International
O'Connor, Brien           Place, Boston, MA 02110-2624 /        Third party     May
                          (617) 951-7385.
                          Suite 436, Public Ledger Building,
                          150 S. Independence Mall West,
                          Philadelphia, PA 19106-3499.
Ragone, Linda                                                    HHS OIG        May
                          Contact through counsel for the
                          United States: Rebecca Ford / (202)
                          514-1511.




5/11/2010                                                3
                 Case 1:01-cv-12257-PBS Document 7103-1 Filed 05/11/10 Page 4 of 4

                                               Attachment A
        List of Witnesses Whom the United States Expects to Call or May Call Live (Medicare‐only trial)

                          Boehringer Ingelheim
                          Pharmaceuticals, Inc., 900
                          Ridgebury Road P.O. Box 368.
Rowenhorst, James Allen
                          Ridgefield, CT 06877 (203) 798-
                                                                 Boehringer    May
                          9988. Contact through counsel for
                          Roxane: Hellen Witt, (312) 862-2000.

                          PRIME Institute, 7-159 Weaver-
                          Densford Hall, 308 Harvard Street,
                          SE, Minneapolis, MN 55455,
                          College of Pharmacy, University of
Schondelmeyer, Stephen                                             Expert      May
                          Minnesota, Minneapolis, MN 55455.
                           Contact through counsel for the
                          United States: Rebecca Ford / (202)
                          514-1511.
                          Alston + Bird, 950 F Street, N.W.,
Scully, Thomas            Washington, D.C. 20004-1404 /            HHS         May
                          (202) 756-3459.
                          150 S. Independence Mall West,
                          Public Ledger Bldg, Philadelphia, PA
Vito, Robert              19106-9111. Contact through            HHS OIG       May
                          Counsel for the United States:
                          Rebecca Ford / (202) 514-1511.

                          38360 West 36th Street, New York,
                          New York, 10018. Contact through
Vladeck, Bruce
                          counsel for the United States:
                                                                   HHS         May
                          Rebecca Ford / (202) 514-1511.




5/11/2010                                                4
